                                          Case 3:15-cv-02106-RS Document 339 Filed 12/04/17 Page 1 of 2




                                   1

                                   2

                                   3

                                   4

                                   5

                                   6

                                   7                                  UNITED STATES DISTRICT COURT

                                   8                                NORTHERN DISTRICT OF CALIFORNIA

                                   9
                                        CONSUMER FINANCIAL PROTECTION
                                  10    BUREAU,                                              Case No. 15-cv-02106-RS

                                  11                   Plaintiff,
                                                                                             ORDER GRANTING TEMPORARY
                                  12            v.                                           STAY OF ENFORCEMENT OF
Northern District of California
 United States District Court




                                                                                             JUDGMENT
                                  13    NATIONWIDE BIWEEKLY
                                        ADMINISTRATION, INC., et al.,
                                  14
                                                       Defendants.
                                  15

                                  16          Pursuant to Rule 62(b) of the Federal Rules of Civil Procedure, defendants seek a stay of

                                  17   any proceedings to enforce the judgment against them, pending disposition of the post-trial

                                  18   motions they represent will be filed no later than December 7, 2017. Plaintiff initially filed

                                  19   opposition, but has since withdrawn the opposition and advises that it now takes no position on the

                                  20   merits of defendants’ motion.

                                  21          Under all the circumstances, a stay on any efforts to collect the monetary judgment is

                                  22   hereby granted, pending an order disposing of defendants’ post-trial motions, or other further

                                  23   order lifting the stay. Defendants will be held to their representation that they will not sell the

                                  24   business building or the personal residence during the pendency of this stay. Defendants do not

                                  25   seek a stay of injunctive provisions of the judgment, and none will issue.

                                  26          Defendants are advised any subsequent request for a stay pending appeal will be evaluated

                                  27   on its own merits. The fact that this stay was entered will not be germane to that analysis, and

                                  28   should not be taken as an indication that a stay on appeal necessarily will be appropriate, absent a
                                          Case 3:15-cv-02106-RS Document 339 Filed 12/04/17 Page 2 of 2




                                   1   supersedeas bond.

                                   2

                                   3   IT IS SO ORDERED.

                                   4

                                   5   Dated: December 4, 2017

                                   6                                        ______________________________________
                                                                            RICHARD SEEBORG
                                   7                                        United States District Judge
                                   8

                                   9

                                  10

                                  11

                                  12
Northern District of California
 United States District Court




                                  13

                                  14

                                  15

                                  16

                                  17

                                  18
                                  19

                                  20

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26
                                  27

                                  28
                                                                                                CASE NO.   15-cv-02106-RS
                                                                             2
